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  CADES SCHUTTE
  A Limited Liability Law Partnership

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  A Limited Liability Partnership
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  Attorneys for Plaintiffs and
  Third Party Cross-Claim Defendants
  ATOOI ALOHA, LLC
  CRAIG B. STANLEY, as Trustee for
  THE EDMON KELLER AND CLEAVETTE MAE
  STANLEY FAMILY TRUST;
  CRAIG B. STANLEY, Individually; and
  MILLICENT ANDRADE, Individually
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                 IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  ATOOI ALOHA, LLC, an Nevada                  CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company; CRAIG B.
  STANLEY, as Trustee for THE                  AMENDED MOTION TO
  EDMON KELLER AND CLEAVETTE                   WITHDRAW AS COUNSEL FOR
  MAE STANLEY FAMILY TRUST;                    PLAINTIFFS AND THIRD PARTY
  CRAIG B. STANLEY, individually;              CROSS-CLAIM DEFENDANTS
  MILLICENT ANDRADE, individually,             ATOOI ALOHA, LLC,; CRAIG B.
                                               STANLEY, AS TRUSTEE FOR THE
             Plaintiffs,                       EDMON KELLER AND
        v.                                     CLEAVETTE MAE STANLEY
                                               FAMILY TRUST; CRAIG B.
  ABNER GAURINO; AURORA                        STANLEY; AND MILLICENT
  GAURINO; ABIGAIL GAURINO;                    ANDRADE; DECLARATION OF
  INVESTORS FUNDING                            LAWRENCE C. ECOFF;
  CORPORATION, as Trustee for an               CERTIFICATE OF SERVICE
  unrecorded Loan Participation
  Agreement dated June 30, 2014; APT-
  320, LLC, a Hawaii Limited Liability
  Company; CRISTETA C. OWAN, an
  individual; ROMMEL GUZMAN;
  FIDELITY NATIONAL TITLE &
  ESCROW OF HAWAII and DOES 1-
  100 Inclusive,

             Defendants.

  APT-320, LLC, a Hawaii Limited
  Liability Company,

             Third-Party Plaintiff,

        v.

  APARTMENT OWNERS OF
  DIAMOND HEAD SANDS,
          Third-Party Defendant.


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  ABIGAIL LEE GAURINO; CRAIG B.
  STANLEY, AS Trustee for THE
  EDMON KELLER AND CLEAVETTE
  MAE STANLEY FAMILY TRUST;
  CRAIG B. STANLEY, individually,
  ATOOI ALOHA, LLC, an Nevada
  Limited Liability Company;
  MILLICENT ANDRADE, individually


               Third Party
               Cross-Claim Defendants.


         MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFFS
            AND THIRD PART CROSS-CLAIM DEFENDANTS

       Comes now Ecoff Campain & Tilles, LLP (“ECT”) and hereby move this

 Court for an order permitting ECT to withdraw as counsel for Plaintiffs and Third

 Party Cross-Claim Defendants Atooi Aloha, LLC, Craig G. Stanley, as Trustee for

 The Edmon Keller and Cleavette Mae Stanley Family Trust; Craig B. Stanley; and

 Millicent Andrade (collectively “Plaintiffs”). This Motion is made pursuant to

 Local Rule 83.6, and is based on the declaration attached hereto and the records

 and files herein.

       ECT seeks to withdraw as counsel for Plaintiffs as a result of the complete

 breakdown of the attorney-client relationship. On March 7, 2018, ECT received an

 email from Millicent Andrade terminating the representation of ECT as counsel for

 Plaintiffs, effective immediately. ECT immediately responded by email, and

 requested that Ms. Andrade provide a substitution of attorney for execution and

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 filing with the Court. To date, ECT has not received an executed substitution of

 attorney form, thus requiring the filing of this Motion to Withdraw, whereby both

 ECT seeks a court order to be allowed to withdraw as counsel for Plaintiffs in this

 action.

       ECT complied with the notice requirements of Local Rule 83.6(b) by

 advising Plaintiffs that Plaintiffs are responsible for complying with all court

 orders and time limitations established by any applicable rules. ECT further

 advised Plaintiff Atooi Aloha, LLC that it cannot appear without counsel admitted

 to practice before this court, and, absent prompt appearance of substitute counsel,

 pleadings, motions, and other papers may be stricken and default judgment or other

 sanctions may be imposed against the entity.

       Based upon the foregoing, and the attached declaration, ECT respectfully

 requests that this Court grant the instant Motion and enter an order permitting ECT

 to withdraw from representing Plaintiffs in this matter.




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                                    ECOFF CAMPAIN & TILLES, LLP
                                    A Limited Liability Partnership


                                     /s/ Ginni G. Kim
                                    LAWRENCE C. ECOFF, Pro Hac Vice
                                    ALBERTO J. CAMPAIN, Pro Hac Vice
                                    GINNI G. KIM, Pro Hac Vice

                                    and

                                    CADES SCHUTTE
                                    A Limited Liability Law Partnership
                                    DENNIS W. CHONG KEE
                                    W. KEONI SHULTZ
                                    CHRISTOPHER T. GOODIN

                                    Attorneys for Plaintiffs and Third Party
                                    Cross-Claim Defendants
                                    ATOOI ALOHA, LLC, CRAIG B.
                                    STANLEY, as Trustee for THE EDMON
                                    KELLER AND CLEAVETTE MAE
                                    STANLEY FAMILY TRUST; CRAIG B.
                                    STANLEY, Individually; and MILLICENT
                                    ANDRADE, Individually




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                 IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  ATOOI ALOHA, LLC, an Nevada                  CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company; CRAIG B.
  STANLEY, as Trustee for THE                  DECLARATION OF LAWRENCE
  EDMON KELLER AND CLEAVETTE                   C. ECOFF IN SUPPORT OF
  MAE STANLEY FAMILY TRUST;                    MOTION TO WITHDRAW AS
  CRAIG B. STANLEY, individually;              COUNSEL FOR PLAINTIFFS AND
  MILLICENT ANDRADE, individually,             THIRD PARTY CROSS-CLAIM
                                               DEFENDANTS
             Plaintiffs,

        v.

  ABNER GAURINO; AURORA
  GAURINO; ABIGAIL GAURINO;
  INVESTORS FUNDING
  CORPORATION, as Trustee for an
  unrecorded Loan Participation
  Agreement dated June 30, 2014; APT-
  320, LLC, a Hawaii Limited Liability
  Company; CRISTETA C. OWAN, an
  individual; ROMMEL GUZMAN;
  FIDELITY NATIONAL TITLE &
  ESCROW OF HAWAII and DOES 1-
  100 Inclusive,

             Defendants.

  APT-320, LLC, a Hawaii Limited
  Liability Company,

             Third-Party Plaintiff,

        v.

  APARTMENT OWNERS OF
  DIAMOND HEAD SANDS,

             Third-Party Defendant.

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                       DECLARATION OF LAWRENCE C. ECOFF
 I, Lawrence C. Ecoff, hereby declare as follows:
        1.        I am a partner with the law firm of Ecoff Campain & Tilles, LLP
 (“ECT”) and counsel for Plaintiffs and Third Party Cross-Claim Defendants Atooi
 Aloha, LLC, Craig G. Stanley, as Trustee for The Edmon Keller and Cleavette
 Mae Stanley Family Trust; Craig B. Stanley; and Millicent Andrade (collectively
 “Plaintiffs”).
        2.        ECT seeks to withdraw as counsel for Plaintiffs as a result of the
 complete breakdown of the attorney-client relationship. On March 7, 2018, ECT
 received an email from Millicent Andrade Plaintiffs terminating the service of ECT
 as counsel for Plaintiffs, effective immediately. ECT immediately responded by
 email and requested that Ms. Andrade provide a substitution of attorney for
 execution and filing with the Court.
        3.        To date, ECT has not received an executed substitution of attorney
 form, thus requiring the filing of a Motion to Withdraw whereby both ECT seek a
 court order to be allowed to withdraw as counsel for Plaintiffs in this action.
        4.        Pursuant to Local Rule 83.6(b), the contact information for Plaintiffs
 is as follows:
        Atoohi Aloha, LLC
        c/o Millicent Andrade
        2090 Hanalima Street, #DD201
        Lihue, Kauai, Hawaii 96766
        (808) 346-3671
        millimoana@gmail.com
        Craig B. Stanley, Trustee and Individually
        2090 Hanalima Street, #DD201
        Lihue, Kauai, Hawaii 96766
        (808) 346-3671
        millimoana@gmail.com

        Millicent Andrade
        2090 Hanalima Street, #DD201
        Lihue, Kauai, Hawaii 96766

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       (808) 346-3671
       millimoana@gmail.com

       5.     ECT has also advised all Plaintiffs that (a) Plaintiffs must comply
 with all court orders and time limitations established by applicable court rules, (b)
 Plaintiff Atooi Aloha, LLC cannot appear without counsel admitted to practice
 before this Court, and (c) absent prompt appearance of substitute counsel,
 pleadings, motions and other papers may be stricken and default judgment or other
 sanctions may be imposed against Plaintiffs.
       I declare under penalty of perjury that the foregoing statements are true and
 correct to the best of my knowledge, information and belief.


 Dated this 16th day of March, 2018, at Beverly Hills, California.



                                                /s/ Lawrence C. Ecoff
                                                LAWRENCE C. ECOFF




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                         CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 16, 2018, a true and correct

 copy of Amended Motion to Withdraw as Counsel for Plaintiffs and Third Party

 Cross-Claim Defendants Atooi Aloha, LLC; Craig B. Stanley, as trustee for The

 Edmon Keller and Cleavette Mae Stanley Family Trust; Craig B. Stanley; and

 Millicent Andrade was duly served upon the following parties by CM/ECF:

                  JOHN R. REMIS, JR., ESQ.
                  P.O. Box 38112
                  Honolulu, HI 96837
                  JRRHNL@aol.com
                        and
                  ROBERT D. EHELER, JR., ESQ.
                  Pauahi Tower at Bishop Square
                  1003 Bishop Street, Suite 2700
                  Honolulu, HI 96813
                  rdelawoffice@gmail.com

                  Attorneys for Defendants
                  ABNER GAURINO, AURORA GAURINO
                  and ABIGAIL GAURINO and
                  Third Party Cross-Claim Defendant
                  ABIGAIL LEE GAURINO
                  CHARLES A. PRICE, ESQ.
                  Koshiba Price Gruebner & Mau
                  707 Richards Street, Suite 610
                  Honolulu, HI 96813
                  cprice@koshibalaw.com
                        and
                  WILLIAM J. PLUM, ESQ.
                  The Plum Law Office, ALC
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                  Honolulu, HI 96811
                  wplum@plumlaw.com


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                  Attorneys for Defendants
                  INVESTORS FUNDING CORPORATION
                  and APT-320, LLC; and
                  Third Party Plaintiff/Third Party Counterclaim
                  Defendant APT-320, LLC

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                  FRANCIS P. HOGAN, ESQ.
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                  fhogan@awlaw.com

                  Attorneys for Defendants
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                  FIDELITY NATIONAL TITLE & ESCROW
                  OF HAWAII, INC.

                  THOMAS D. YANO, ESQ.
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                  Suite 204
                  Lihue, HI 96766
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                  Attorney for Defendant
                  CRISTETA C. OWAN
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                   Attorneys for Third Party Defendant, Third
                   Party Counterclaimant and Third Party
                   Cross-Clamant ASSOCIATION OF
                   APARTMENT OWNERS OF DIAMOND
                   HEAD SANDS

       The undersigned hereby certifies that true and correct copies of the
 foregoing document were duly served upon the following parties by U.S. Mail on
 March 16, 2018:

       Atoohi Aloha, LLC
       c/o Millicent Andrade
       2090 Hanalima Street, #DD201
       Lihue, Kauai, Hawaii 96766

       Craig B. Stanley, Trustee and Individually
       2090 Hanalima Street, #DD201
       Lihue, Kauai, Hawaii 96766


       Millicent Andrade
       2090 Hanalima Street, #DD201
       Lihue, Kauai, Hawaii 96766

 Dated this 16th day of March, 2018, at Beverly Hills, California.


                                         /s/ Ginni G. Kim
                                        GINNI G. KIM




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